
56 So.3d 860 (2011)
Anthony L. JOHNSON, Appellant,
v.
STATE of Florida, Appellee.
No. 1D11-0090.
District Court of Appeal of Florida, First District.
March 3, 2011.
Anthony L. Johnson, pro se, Appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, for Appellee.
PER CURIAM.
The appellant has sought review of a final order rendered in the lower tribunal on November 17, 2010. Because the notice of appeal was not filed within 30 days of rendition, the appeal is untimely. Accordingly, the appeal is dismissed.
LEWIS, CLARK, and ROWE, JJ., concur.
